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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

CASE Nc:) 37 /"7-€1/ ~2,2-(6--_@ /7;){;/;>
Aclversary Case No: 8-14~AP-00247-KRM '
Bankruptcy Case Number 8:12-bk-15725

 

ERIC L. MOORE,

Pettioner,
v.

HONORABLE JUDGE RODNEY K. MAY,
BANKRUPTCY JUDGE I\/IIDDLE DISTRICT OF FLORIDA

Respondent

 

PETITION FOR WRIT OF PROHIBITION

 

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Fla. R. Civ. P. Rule 1.440 (a)

Fed. R. Civ. P. 15(b), Florida Rules of Civ Procedure 9.100, Fla Staute 57.105(4)

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STATEMENT OF THE CASE AND FACTS
This Petition arises from events that occurred in the case of Edwards V Moore , Case
No. 8:14-ap-247-KRM. This case is on remand in the bankruptcy court before the

Honorable Rodney K. May. The instant litigation was brought on or about March 14,

2014. Objection to Claim Nos. 14,15,16 and 18 of Eric L. Moore and Comglaint for
Damages and Eguitable disallowance of claims (Doc 1) The complaint has only two

counts1 Count I-Fraud in the Inducement and Count II-unjust enrichment)

The complaint alleged that Ms. Edwards was fraudulently induced by Mr. Moore's
alleged failure to to disclose his prior criminal charge and therefore his contract was
void and therefore his claims filed related to the contract should also be voided.

In response to this frivolous2 suit Mr. Moore timely moved to file a Motion to

Dismiss Counts I II and III. (Doc 21) Mr. Moore pled that he had no legal duty to

 

disclose a prior criminal charge because it was public record, he also attached various
national news articles reporting his wrongful conviction in 1997.

Mr. Moore pled that the claim Was barred because the plaintiff had an adequate
remedy at law, but at the request of debtors counsel, the court refused to hear the motion
to dismiss w to trial, this clearly violated Fla. Civ Pr. 1.440 and then the court entered
final judgment on unpled claims and never addressed the issues raised in the motion to
dismiss, or the pled fraud claim, this is a clear violation of due process.

‘ There was a third count asking that the claim(s) be disallowed on an equitable basis but it was denied as mute
2 The complaint was frivolous for a number of reasons including but not limited to the bankruptcy court lacked

jurisdiction, and Constitutionai Authority because none of the claims arose out of the bankruptcy and failing to disclose
a prior criminal charge when there is no legal duty to do so is not fraud in the inducement as a matter of law.

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The Memorandum of decision (Doc 76) is twenty six pages but makes no mention
of the issues raised3 in the motion to dismiss, this is clearly intentional. The debtor knew
the complaint stated no cause of action and that the court had no constitutional authority
to hear pre-pettion claims that did not arise out of the bankruptcy (see Doc 137)

Regardless, the court lacks Constitutional authority and is in violation of Rule 1.440,
it entered a final judgment of $45,000 against Mr. Moore and disallowed all his claims
based on M unpled4 allegations (1) Mr. Moore provided no compensable services
under the agreement (2) A fraudulent statement that he could recover $500,000 or more
in 14 days (3) He had an undisclosed interest in the MRCI v JSM lawsuit.

As confirmed by the District Courts Order, the bankruptcy court failed to rule on the
only fraud claim alleged in the complaint, essentially there is no ruling on the only pled
claim and the motion to dismiss is still pending. The court has refused5 to rule on the
Motion to dismiss, and the only fraud claim alleged As of this filing January 27, 2017
the issues raised in the May 2014 motion to dismiss, l\/Iotion to reconsider, and response
to motion for final judgment have not been adjudicated (See Docs 118, 124, 137)

The court should be prohibited from exceeding it‘s authority again by issuing an
order that Mr. Moore has violated the Automatic stay, by seeking access to public

records at a probate court. hence l have the filed this Writ of Prohibition and Mandamus.

3 This is confirmed by Judge Whittemore's ruling See Appendix

‘ A directed verdict is required if the unpled claim was “not presented in the pleadings and not tried with the express or
implied consent of parties ” Cioffe v. Morris, 676 F. 2d 539, 549 (11th Cir. 1982). this claim was not tried by consent.

5 See Doc 77 in the Appendix the order reads “ The court reserved ruling on the motion to dismiss and motion for
summary judgment pending trial

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Furthermore the case was not “at issue” and the case was tried while the Motion to
Dismiss was still pending. g Bennett v. Continental Chemicals,ltg., 492 So. 2D 724
(Fla. lst DCA 1986); Precision Constructors, Inc, v. Valtec Constr. Corp., 825 So. 2D
1062 (Fla. 3D DCA 2002) (Failure to adhere strictly to the mandates of rule 1.440 is
reversible error. Accordingly, the judgment is vacated and the cause is remanded for
new trial.”) The District Court in error, affirmed the disallowance of all Moore‘s claims
on an unpled allegation alleging Mr. Moore “didn't provide compensable services ” this
is a clear violation of due process, because Mr. Moore had no opportunity challenge the
unpled allegation in his motion to dismiss, or at trial.

The Bankruptcy court can not sustain the objections to Moore‘s claims on the unpled
claim of “not providing compensable services” after the agreement was rejected and
therefore Mr. Moore Was excused from performance (See Doc 146 Appendix)

Furthermore, Pursuant to Rule 15(b) Which also applies in adversary proceedings,
an issue not raised by the pleadings may be tried by the parties‘ express or implied
consent. Fed. R. Civ. P. 15(b) However, “[a] party cannot be said to have implicitly
consented to a trial of an issue not presented by the pleadings unless that party should
have recognized that the issue had entered the case at trial.” Gilmere v. City of/-ltlanta,
864 F. 2d 734, 737 (11th Cir 1989) (internal quotation marks omitted). Accordingly the
allegation that Moore provided not compensable services was not tried by express of

implied consents.

5 See Wesco Mfg., Inc. v Tropical Attractions of Palm Beach, Inc., 833 F.2d 1484, 1487 (11th Cir. 1987)

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NATURE OF RELIEF SOUGHT
The Petitioner seeks to have an order entered prohibiting the bankruptcy judge
from:
(a) Entering a final judgment disallowing Moore‘s pre-pettion claim(s) based on the any
unpled allegations including claims the petitioner did not provide compensable services
(b) Denying the motion to reconsider the rejection damages claim without a trial in
violation of the courts prior Bifurcation order7
(c) Entering Final judgment on state law claims in light of Stern v Marshall
(d) From violating the Probate Exception, Freedom of information Act, entering
judgment for sanctions Without complying With the mandatory 21 day procedural
requirement
PETI`ITION FOR MANDAMUS
The petitioner also seeks a Writ of mandamus ordering the court to;
(a) Issue a ruling on the motion to reconsider the motion to dismiss and response to
motion for final judgment (b) dismiss the complaint for lack of jurisdiction and
Constitutional authority because it is not an Article III court.
BASIS FOR INVOKING JURISDICTION OF THE COURT
This Court has jurisdiction over the original proceeding of prohibition pursuant to
Article 5, §4(b)(3) of the Florida Constitution and Rules 9.030(b)(3) and 9.100(e) of the

Florida Rules of Appellate Procedure.

7 The bifurcation order clearly said that all issues of damages would not be heard at the trial (doc 17)

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SUMMARY OF ARGUMENT
A writ of prohibition barring Judge Rodney K. May from issuing any further
orders or judgments in the instant litigation is proper because the trial court lacks
jurisdiction, constitutional authority in several matters concerning the petitioner, has
inserted unpled claims and violated the due process of the petitioner by not addressing
the motion to dismiss prior to trial in violation of rule Fla. Civ. Pr. 1.440,

The District court remanded the case for adjudication of the issues raised in the
motion to dismiss, the trial court is Without any further jurisdiction or authority to deny
Moore‘s claim(s) or reconsideration of his claims until the Motion to Dismiss and the
courts constitutional authority have been decided. In fact the court must deal With it‘s
own jurisdiction before dealing With the merits“.

The writ of prohibition, which should be utilized so as to prevent a lower tribunal
from overstepping its jurisdictional grounds, or exceeding it‘s jurisdiction,

A writ of prohibition is nevertheless proper because equity principles demand that
trial courts cannot (a) Violate Fla. Civ Pr. Rule 1.440, (b) Enter Judgment against the
petitioner based on unpled allegations9. (c) To defer ruling on a Motion to dismiss while

knowing the court never had constitutional authority to hear the case in the first place.

8 Federal district courts are tribunals of limited jurisdiction, “‘empowered to hear only those cases within the judicial power
of the United States as defined by Article lIl of the Constitution,’ and which have been entrusted to them by a jurisdictional
grant authorized by Congress." University of South Alabama v. The American Tobacco Co., 168 F.3d 405, 409 (11th Cir.
1999) (quoting Taylor v. Appleton, 30 F.3d 1365, 1367 (llth Cir. 1994)). Accordingly, an “Article lll court must be sure of
its own jurisdiction before getting to the merits” of any action. Ortiz v. Fiberboard Corp., 527 U.S. 815, 831 (1999) (citing
Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 88-89 (1998)).

9 A judgment based on unpled allegations is void see Fine v Fine 400 So.2d 1254,1255(Fla. 5Th DCA 1981)

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STANDARD OF REVIEW

As the issue presented by the Petitioners is a pure question of law, the instant case
is subject to the de novo standard of review. See D’Angelo v. Fitzmaurice, 863 So. 2d
311, 314 (Fla. 2003) (providing that “[t]he standard of review for...pure questions of
law. . .is de novo.”) “

Appellate court courts apply a de novo standard of review when the construction of
a procedural rule ...... is at issue.” Barco v $chool Bd. Of Pinellas Cnty., 975 So. 2d 1116,
1121(Fla. 2008) Since the first issues deals with the construction of Fla. R. Civ. P. 1.440,
the standard of review should be de novo

“Likewise, a trial court's decision on a motion to dismiss is reviewed de novo. See
e.g. Samuels v King Motor Co. of Fort Lauderdale, 782 So. 2D 489, 495 (Fla. 4Th DCA
2001); Mortgage Electronic Registration v. Azize, 965 So. 2D 151, 153 (Fla. 2d. DCA
2007)

Because the case is not at issue, any judgment resulting from the improperly-set
trial would be void for due process. Bennett v. Continental Chemicals, Inc., 492 So. 2d.
724 (Fla. 1St DCA 1984). Reversing notice judgment entered where case was tried on
notice that violated Rule 1.440). Strict compliance With Rule 1.440 is mandatory .Id
Therefore the other issue presented regarding a trial courts denial of Moore‘s motion to
dismiss pending trial should be reviewed de novo. The courts lack of jurisdiction and

constitutional authority is also reviewed de novo.

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ARGUMENT

I. A WR_[T OF PROHIBITION SHOULD BE ENTERED BECAUSE THE TRIAL
COURT LACKS JURISDICTION AND CONSTITUTIONAL AUTHORITY

A writ of prohibition is proper in this case because the trial court lacks jurisdiction
to take any further action or issue any further orders, such as an order for sanctions or
violation of the automatic stay for requesting a copy of public probate records.

Prohibition is utilized by “a superior court, having appellate and supervisory
jurisdiction over an inferior court or tribunal possessing judicial or quasi-judicial power,
[to] prevent such inferior court or tribunal from exceeding jurisdiction or usurping
jurisdiction over matters not within its jurisdiction.” English v. McCray, 348 So.2d 293
(Fla. 1977). Prohibition is a preventive, as opposed to Corrective, remedy in that it may
only be invoked to forestall an improper action which has not yet occurred. City of
Sanibel v. Maxwell, 925 So. 2d 486, 487 (Fla. 2d DCA 2006) (providing that prohibition
“is preventive and not corrective in that it commands the one to whom it is directed not
to do the thing the supervisory court is informed the lower tribunal is about to do”
(quoting §ng@, 348 So. 2d at 296-97)).

Prohibition may be employed to prevent a lower tribunal from acting Without
jurisdiction or in excess’° of its jurisdiction See e.g. Peltz MMMMD_;ML

Third Dist., 605 So. 2d 865 (Fla. 1992); Sanders v. Laird, 865 So. 2d 649 (Fla. 2d DCA

1° In this case the District Court has remanded the case for a determination of the courts jurisdiction and constitutional
authority, affirmed the judgment on the unpled claims while also remanding the case to deal with the pending motion to
dismiss, the lower courts judgment is void due to violation of due process, see Bennett v. §;Qgtinenta §§hemigg|s,lg.,
492 So. 2D 724 (Fla. lst DCA 1986)

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2004); Sragowicz v. Sragowicz, 603 So. 2d 1323 (Fla. 3d DCA 1992); Markin v.

 

Markin, 877 So. 2d 785 (Fla. 4th DCA 2004); City of Palm Bay v. Palm Bay Greens,
LL_C_, 969 So. 2d 1187 (Fla 5th DCA 2007). Moreover, prohibition is a proper vehicle

through which to challenge the subject-matter jurisdiction of the lower court. Aviateca

 

S.A. v. Friedman, 678 So. 2d 387 (Fla. 3d DCA 1996). The issuance of a writ of
prohibition, therefore, prevents the resulting harm which Would be realized if a lower
tribunal issues a final order Without retaining jurisdiction over the case.

Most importantly to this case, prohibition is also an appropriate remedy where a
trial court does not have jurisdiction once it has made a ruling or finding which

precludes it from entering any further orders. See Tsokos v. Sunset Cove Investments

 

I_nc., 936 So. 2D 667 (Fla. 2d DCA 2006) (prohibition granted to prevent trial judge
from finding non-parties to be in civil contempt of a judgment approving a settlement
agreement because the final judgment did not expressly prohibit a third party from
purchasing the property after the closing date incorporated into the final judgment); Qy
of Sanibel v. Maxwell, 925 So. 2D 486 (Fla. 2d DCA 2006)(Writ of prohibition granted
because trial court was without jurisdiction to grant motion for leave to amend as it was
filed more than thirty days after dismissal which marked an end to the judicial labor in
the case); Agency for Persons with Disabilities v. F.G., 917 So. 2D 887 (Fla. 3d DCA
2005) (writ of prohibition granted as trial court lacks constitutional or statutory

jurisdiction to order the officers of the Agency for Persons with Disabilities to appear)11

 

" A Writ should issue because the lower court has no authority to issue final judgment pursuant to Stern V Marshall.

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ARGUMENT
II. A WRIT OF MANDAMUS SHOULD BE ENTERED BECAUSE THE TRIAL

COURT HAS YET TO ADDRESS THE ISSUES RAISED IN THE MOTION TO
DISMISS IN VIOLATION OF FED. CIV. P. 1.440

The Memorandum of decision (Doc 76) is some twenty six pages but makes
no mention of the issues raised'2 in the motion to dismiss.

As confirmed by the District Courts Order, the bankruptcy court failed to rule on the
only fraud claim alleged, it also didn‘t address the issues raised in Motion to dismiss”, In
fact there is no mention of the Motion to Dismiss in the courts Memorandum of
Decision (Doc 76) or in it‘s January 8, 2015 oral ruling, it is as if the motion to dismiss
did not exist. Unfortunately this pattern would continue for more than 18 Months, and as
of this filing the issues raised in the May 2014 motion to dismiss have not been
addressed, or adjudicated hence the filing of this Writ of Prohibition and Mandamus.

On January 29, 2015 The Bankruptcy court entered a ruling in a Memorandum of
decision against Mr. Moore disallowing all his claims based on th_r_eg unpled14 allegations
(1) Mr. Moore provided no compensable services under the agreement (2) A fraudulent
statement that he could recover $500,000 or more in 14 days (3) He had an undisclosed
interest in the MRCI v JSM lawsuit.

On Appeal, the US District Court remanded the case, to address the motion to dismiss

they only fraud claim pled and the Stern V Marshall issues.

'2 This is confirmed by Judge Whittemore's ruling
‘3 See the judge Whittemore's ruling page 7 and 14
" Two of the unpled allegations were unpled fraud allegations but they were reversed on appeal

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In fact the complaint did not state a cause of action. Furthermore the case is not “at
issue” and the court can't deny Mr. Moore‘s claims because the Motion to Dismiss is still
pending. E Bennett v. Continental Chemicals,ln_c., 492 So. 2D 724 (Fla. lst DCA
1986); Precision Constructors, Inc, v. Valtec Constr. Corp., 825 So. 2D 1062 (Fla. 3D
DCA 2002) (Failure to adhere strictly to the mandates of rule 1.440 is reversible error.
Accordingly, the judgment is vacated and the cause is remanded for new trial.”) The
District Court in error, affirmed the disallowance of all Moore‘s claims although the
remand order confirmed the issues raised in the Motion to Dismiss are still
“unresolved”, furthermore the bankruptcy court has yet to determine they had
Jurisdiction or authority to finally adjudicate state-law claims.

Mr. Moore filed a Motion to reconsider the Motion to Dismiss (Doc 118) and
Amended Motion for reconsideration of the Motion to dismiss (Doc 124) and a
Response to the debtors motion for final judgment (Doc 137) and even a Motion to
expedite the motion to reconsider the motion to dismiss (Doc 145) Since a hearing on
August 8th 2016 the court has said it would issue a ruling within 30 days, but the court
has yet to issue a ruling and therefore the Motion to Dismiss has been pending for more
than 30 months‘$. The Court can not issue any further orders on the merits until it deal
with it‘s own jurisdiction Therefore, a writ of mandamus should issue ordering the
lower court to issue a ruling on the motion to reconsider the motion to dismiss and a

determination of the courts authority to issue judgment in light of Fed. Civ. Pr. 1.440

 

"" The original motion to dismiss was filed in May 2014 the motion to reconsider and responses are in the appendix

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ARGUMENT
III. A WRIT OF PROHIBITION SHOULD BE ENTERED BECAUSE THE
TRIAL COURT LACKS JURISDICTION TO RULE OUTSIDE OF PLEADINGS
Because the Motion to dismiss is still pending the case is not at issue therefore the courts
judgment against Mr. Moore is in violation of Fed. Civ. Pr. 1.440 and a violation of Mr.
Moore's due process,

The Bankruptcy court can not sustain the objections to Moore's claims on the unpled
alternative allegation of “not providing compensable services ” Firstly, because Mr.
Moore Was excused from providing further consulting services after the agreement was
rejected (See Doc 146) The Bifurcation order clearly established that the trial was about
the validity of Mr. Moore's claims, all issues of damages were bifurcated.

The court lacked jurisdiction to rule on the rejection damages claim. (Doc 17) A
Judgment outside of the pleadings is void, see Fine v. Fine so. 2D 1254,1255 (Fla. 5Th
DCA 1981) Furthermore, Pursuant to Rule 15(b) which also applies in adversary
proceedings, an issue not raised by the pleadings may be tried by the parties' express or
implied consent. Fed. R. Civ. P. 15(b) However, “[a] party cannot be said to have
implicitly consented to a trial of an issue not presented by the pleadings unless that
party should have recognized that the issue had entered the case at trial.” Gilmere v. City
of Atlanta, 864 F. 2d 734, 737 (11th Cir 1989) Accordingly the allegation that Moore

provided no compensable services Was not tried by consent‘€.

 

16 See Wesco Mfg., Inc. v Tropical Attractions of Palm Beach, Inc., 833 F.2d 1484, 1487 (11th Cir. 1987)

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ARGUMENT

IV. A WRIT OF PROHIBITION SHOULD BE ENTERE.D BECAUSE THE
COURT LACKS JURISDICTION TO PRE`.VENT THE WESTPORT PROBATE
COURT FROM REOPENING THE ESTATE OF THE DEBTORS DECEASED
HUSBAND TO CONFIRM A PRIOR RULING AND INVESTIGATE FRAUD

On or about December 9, 2016 Mr. Moore filed a Motion to reopen the Estate of
Bernard Edwards for Fraud and a declaration confirming the court approval of various
documents of which the debtor signed in 1997, including a document entitled
“Settlement Agreement” and another document entitled “Co-publishing document” (See
Appendix)

In response to this request the Debtor has filed a motion (Doc 792) alleging that Mr.
Moore has violated the Automatic stay by requesting clarification of the probate courts
affidavit". In Doc 792 page 4 paragraph 13 the debtor asserts;

“ F or the reasons set forth herein, the Motions to Reopen and Moore response constitute
acts to exercise control over property of the Debtors estate in violation of Section 362(a)
(3) of the bankruptcy code ”

The debtor is alleging that Mr. Moore is attempting to exercise control of the debtors
property, section 362(a) reads: “any act to obtain possession of property of the estate or
of or of property from the estate or to exercise control over property of the estate ”

17 One of the reasons this remedy is being sought is that the lower court refused to take mandatory judicial notice of
certified copies of the iuiy 9, 1997 stipulated agreement without stipulating that “ indicial notice is not appropriate for

confirming Moore‘s argument that said order approved only the July 9, 1997 agreement to the exclusion of all other
documents (see Doc 10 in the Appendix page 2-3)

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lt is not in dispute that the debtor is the deceased Widow of Bernard Edwards, and
therefore was a beneficiary of the Estate of Bernard Edwards, However, any property
found or recovered by the Westport Probate Court belongs to the Estate of Bernard
Edwards, not the debtor. Therefore, there can be no violation of the Automatic stay even
if Mr. Moore had asserted a claim against the Estate of Bernard Edwards.

Furthermore, the bankruptcy court recently determined the debtor Was due nothing
from the Estate of Bernard Edwards (see Doc 270 Appendix) Therefore, bankruptcy
court should be prohibited from entering an order that Mr. Moore has violated the
automatic stay by seeking possession of the debtors property,

However, if the Probate court determines that Ms. Edwards, and/or other beneficiaries
or the I.R.S. are due money or property never transferred to them in 1997, the
bankruptcy court is barred from interfering with the Probate Courts fraud investigation,
or collection efforts (if any) due to the Probate exception to Federal Court Jurisdiction.18
Also, the court should issue this Writ because the letter informing Mr. Moore to
Withdraw his Motion in Connecticut was dated January 22, 2017, the Motion for
sanctions was filed less than two days later, which is far from the 21 day requirement,
this is proof the debtor has failed to comply with mandatory procedural requirements of
rull 9011, and Fla. Statute 57.105(4) having failed to follow this requirement, the Writ

should issue for this reason as well as others stated above.

 

“’ The probate exception bars federal courts from adjudicating claims that involve “ Questions which would ordinarly be
decided by a probate court in determining the validity of the decendants estate planning instrument Marshall v Marshall
547 U.S. 293 (2006) Furthermore, under the freedom of information act anyone can get access to public probate court
record even if a beneficary is in bankruptcy at the time, in this case no claim is being asserted against the debtor

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In re Thurman Construction Inc., 189 B.R. 1004, 106-1017 the bankruptcy court for the
Middle District of Florida concluded that, in a case Where it had jurisdiction to
adjudicate issues arising under Title 11, the specialized laws of the probate court should
be utilized to determine Whether a creditor had a claim19 arising in connection With a
probate estate. In reaching this conclusion, the court cited Carver v. Carver, 954 F. 2d
1573 (11th Cir 1992) in which the Eleventh Circuit stated that is is inappropriate for
Bankruptcy Courts to adjudicate issues better suited for specialized state courts, such as
family issues that should be decided under state law....This idea has been extended to
prevent Bankruptcy Courts from deciding issues which should be decided by a state
probate court. 189 B.R. At 1016-1017 “Probate laW, like family law is specialized area
of practice in which those special courts have developed substantial expertise, and as
such are entitled to deference in litigation involving these issues” ln re Dimartino, 144
B.R.225,226 (Bankr. D.R.I.1992)

The Connecticut probate court is in the best position to confirm if the July 30, 1997
document and Co-pub document were approved by the order approving the July 9, 1997
stipulated Agreement, Furthermore, The Eleventh Circuit has held that the best court to
interpret an order is the court issuing the order. Ranch House of Orange-Brevard, Inc, v_
Gluckstern (In re Ranch House of Orange-Brevard, Inc. 773 F. 2d 1166, 1168 (11th Cir
1985) (The court issuing the order in a case over which it presided is in the best position

to clarify any apparent inconsistencies in the courts rulings.”)

 

19 If Mr.Moore has a claim against the Estate of Bernard Edwards the bankruptcy court has no jursidiction over it.

 

 

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CONCLUSION

This writ of prohibition should be granted and the Writ of Mandamus should be
issued because District Court determined that the issues raised in the motion to Dismiss
were “unresolved” and “unaddressed” this is a clear violation of Fla. Civ. Rule 1.440
and therefore the corresponding judgment is void. (See Doc 31) Page 7, 13-14
(Appendix) The court has refused to rule on the Motion to reconsider

Furthermore the court never had constitutional authority to hear the prepettion
claims in the first place because it is not an Article III court, therefore the lower court
should be ordered to dismiss the complaint with prejudice per the motion filed by the
petitioner.

The court has put its thumb on the scale and decided to assure that the Mr. Moore
does not prevail regardless of the facts or evidence, so when the debtor files a complaint
that states no cause of action the court simply refuses to rule on the motion to dismiss or
the frivolous claim pled by. The court adds insult to injury by adding unpled claims and
creating testimony of witnesses that never appeared at trial, this and other actions are a
gross miscarriage of justice, violation of due process, Mr. Moore is seeking a declaration
concerning the authenticity of various agreements allegedly approved by a Westport
Probate Court order, this is clearly not a violation of the automatic stay, and the court
will be exceeding it's jurisdiction and authority if it issues an order that Mr. Moore has

violated the automatic stay. Therefore the court should issue this writ of prohibition.

 

 

 

 

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Respectfully submitted,
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been
submitted via Process Server to the Bankruptcy Court, District Court Tampa Division
per the rules and procedures of that Court, and further certify that a true and correct copy
of the foregoing was furnished by E-Mail and/or U.S. Mail to: Bush Ross P.A P.O. Box

3913 Tampa, Florida 33601-3913 on this 27 day of January 2017.

Eric Lyndell Moore

CERTIFICATE OF FONT COMPLIANCE
I HEREBY CERTIFY that the font used in this brief is the Times New Roman 14-

point font and that the brief complies with the font requirements of Rule 9.210(a) (2),

¢.

Florida Rules of Appellate Procedure.

 

Eric Lyndell Moore

 

 

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CERTIFICATE OF SE.RVICE

 

I HEREBY CERTIFY that on this day of January 27, 2017 a true and correct copy
of this Pettion for Writ of Prohibition and Mandamus was provided by process server, E-

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